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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

K. SCOTT STOKES,                       )
                                       )
      Plaintiff,                       )
                                       )       CIVIL ACTION
v.                                     )
                                       )       FILE No. 1:21-cv-02426-MHC
ALTS, LLC,                             )
                                       )
      Defendant.                       )

                          NOTICE OF SETTLEMENT

      NOTICE IS HEREBY GIVEN that all claims pending in this matter have been

resolved to the satisfaction of Plaintiff and Defendant. Plaintiff hereby respectfully

requests that this Court allow sixty (60) days within which to complete the settlement

and file the dismissal in accordance with the Settlement Agreement.

                                       Dated: September 1, 2021.

                                       Respectfully submitted,

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich
                                       Georgia Bar No. 242240
                                       The Law Office of Craig J. Ehrlich, LLC
                                       1123 Zonolite Road, N.E., Suite 7-B
                                       Atlanta, Georgia 30306
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                         CERTIFICATE OF SERVICE

      I certify that on September 1, 2021, I filed the within and foregoing Notice of

Settlement using the CM/ECF System for the federal District Court for the Northern

District of Georgia, resulting in a true and correct copy of the same to be served via

electronic mail as follows:

K.P. Reddy, Esq.
The Reddy Law Firm, P.C.
1325 Satellite Boulevard, N.W., Suite 1506
Suwanee, Georgia 30024
Tel: (678) 629-3246
kpr@reddylaw.net

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich

        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman and

a point size of 14.

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich




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